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         16                       UNITED STATES DISTRICT COURT
         17                      CENTRAL DISTRICT OF CALIFORNIA
         18
            CONNOR RUCKS, Individually and on )            Case No.:      EDCV12 - 02231 VAP (SPx
         19 Behalf of All Others Similarly Situated,
                                                           Cl as Action
         20
                                  Plaintiff,               COMPLAINT
         21
         22              VS.                           )
                                                           DE MAND FOR JILRY TRIAL
         23 MONSTER BEVERAGE                )
         24 CORPORATION, MONSTER  ENERGY)
            COMPANY and DOES 1-20 inclusive )
         25              ,                             5
         26                Defendants.      )
         "1

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        I             Plaintiff, Connor Rucks, by and through the undersigned counsel, brings this
       2 consumer class action both individually and on behalf of all others similarly
            1
       3 situated, against defendants Monster Beverage Corporation ("MBC") and Monster
                Energy Company ("MEC") (collectively, "Defendants" or the "Company").
                Plaintiff’s allegations are based on information and belief formed after an inquiry
       ris reasonable under the circumstances and are likely to have evidentiary support after
       7 reasonable opportunity for further investigation and discovery, except where
       8 specifically so identified as being based on personal knowledge:
                                         I,.I tIJ 1 3(0)   :1 aSit[ii1
      10              1.    This is a consumer class action seeking redress for Defendants’ unfair
      11 and deceptive business and trade practices on behalf of anyone who purchased for
      12,       personal consumption any of the Monster-branded energy drinks, including any of
       13 the following ("Monster Energy Drinks"):
       14      Monster Energyfi                    Java Monsterfi Kona Blend
      15       Lo-Carb Monster Energyfi            Java Monsterfi Loca Mocafi
               Monster Energyfi Assaultfi          Java Monsterfi Mean Beanfi
      16       Monster Khaosfi                     Java Monsterfi Vanilla Light
      17       Monster   M-800                     Java Monsterfi Irish Blendfi
               Monster MIXXDfi                     Java Monsterfi Toffee
      18       Monster Energyfi Absolutely Zero Monster Energy Extra Strength
               Monster Energy(k) Import           Nitrous Technology(A) Super DryTM
      19
               Monster Energyfi Import Light       Monster Energy Extra Strength
      20       Monster  Energyfi Dub Edition      Nitrous Technologyfi Anti-Gravityfi
               Monster RehabTM Tea + Lemonade Monster Energy Extra Strength
      21       + Energy                           Nitrous Technologyfi Killer Bfi
               Monster RehabTM Rojo Tea +
               Energy
      23       Monster RehabTM Green Tea +         Monster Energy Extra Strength
               Energy                             Nitrous Technology(g) Black IceTM
      24       Monster RehabTM Protean + Energy
               Monster Energyfi M3TM Super        X-Presso Monsterfi Hammer
      251      Concentrate
      26                                          X-Presso Monsterfi Midnite

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       1         2.    The Company develops, markets, sells, and distributes beverages and
       2 soft drinks in the United States and internationally. Defendants falsely or
       3 misleadingly label, market and advertise for sale a highly caffeinated concoction -




      12 perception by the consumer that these products are safe.
      13        4.    Monster Energy Drinks, in fact, contain a dangerously high amount of
      14 caffeine that have never been subjected to any kind of pre-market review by any
      15 regulatory authority prior to them being put in the stream of commerce. Numerous
      16 scientific studies have shown that the consumption of large amounts of caffeine, in
      17 combination with other active ingredients like guarana, taurine, carnitine, sugar,
      18 among others, by youth and adolescents can have serious health consequences
      19 Yet, Defendants knowingly or with reckless indifference, market, advertise and sell
      20 Monster Energy Drinks as completely safe via playful/seductive advertising
      21 designed to attract pre-teens and teens and via product placement.
      22        5      Notwithstanding the high caffeine levels in Monster Energy Drinks
      23 and the scientific evidence of serious health risks these levels may pose for
      24 adolescents and youth, Defendants’ advertising, marketing and promotions
      25 expressly target the 13 to 21-age group. Defendants intend to and do, in fact,
      26 capture teenagers and other youth by designing and disseminating their marketing
      27 campaigns to specifically target and attract such youth. Yet, Defendants’

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        I advertising and labeling fails miserably at providing any warning regarding the
       2 dangers of frequent or excessive consumption of caffeine to this very same group
       3 that they target. As a result of the false and misleading labeling, marketing and
       4 advertising, and failure to warn of risks, the Company has profited immensely
        ’ from its Monster Energy Drinks’ sales, capturing almost 35% of the market share
       6 and generating sales of almost $2 billion annually in 2011.
       7                            JURISDICTION AND VENUE
       8         6.    This Court has jurisdiction over all the causes of action asserted
       9 herein. The Court has jurisdiction over the Magnuson-Moss Warranty Act
      10 ("MMWA") claim pursuant to 28 U.S.C. §1331 because a federal question is
      11 involved and pursuant to 15 U.S.C. §2310(d) because (a) the amount in
      12 controversy of any individual claim is less than the sum or value of $25.00; (b) the
      13 amount in controversy is greater than the sum or value of $50,000 computed on the
      14 basis of all claims in the suit; and (c) the number of plaintiffs is more than 100.
      15 The Court has supplemental jurisdiction over state law claims under 28 U.S.C.
      16 § 1367(a) as claims herein arise under the same set of facts comprising a single case
      17 or controversy.
      18        7.    This Court has jurisdiction over the subject matter presented by this
      19 complaint because it is a class action arising under the Class Action Fairness Act
      20 of 2005 ("CAFA"), 28 U.S.C. §1332, et seq., which explicitly provides for the
      21 original jurisdiction of the federal courts over any class action in which any
      22 member of the plaintiff class is a citizen of a state different from any defendant,
      23 and in which the matter in controversy exceeds in the aggregate the sum of          $5
      24 million, exclusive of interest and costs.
      25        8.     More than two-thirds of the members of the class are citizens of a
     26 state other than California and, as set forth below, the Company is a citizen of
     2711

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        1 California. Therefore, diversity of citizenship exists under CAFA, as required by
       2 28 U.S.C. §1332(d)(2)(A).
       3            9.     The total claims of the individual members of the class in this action
       4 are in excess of $5 million in the aggregate, exclusive of interest and costs, as
       5 required by28 U.S.C. §1332(d)(2),(6).
       6            10. As stated above, more than two-thirds of all of the members of the
            proposed class in the aggregate are citizens of a state other than California, where
            this action was originally filed, and the total number of members of the proposed
       9 class is greater than 100, pursuant to 28 U.S.C. §1332(d)(5)(B).
      10          11, The Court has personal jurisdiction over Defendants because they
      11 have purposefully availed themselves of the privilege of conducting business
      12 within the State of California by marketing, advertising and selling the Monster
      13 Energy Drinks to plaintiff and members of the proposed class, as well as generally
      14 maintaining systematic and continuous business contacts within the State of
      15 California.
      16        12. Venue is proper pursuant to 28 U.S.C. §1391(a) because the Company
      17 conducts substantial business in this District, has sufficient minimum contacts with
      18 this District, and otherwise purposely avails itself of the markets in this District,
      19 through the promotion, sale, marketing and administration of its products in this
      20 District Filed concurrently with this Complaint is the Declaration of Azra Z
      21 Mehdi Pursuant to California Civil Code Section 1780(c) of the Consumer Legal
      22 Remedies Act, Cal Civ. Code Section 1750, et seq., which is incorporated by
           II reference herein.
      24            13. California has numerous contacts with the conduct alleged herein and
      25 a strong interest in applying its laws to that conduct The Company is found, does
      26 business or transacts business within California The Company maintains its
      27 principal offices, as well as agents, in California and is licensed to do, has done,
      28
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       I and continues to do business in California Defendants’ advertising, marketing,
       2 pricing, sales and distribution operations for their Monster-branded energy drinks
       3 sold throughout the United States, which form the basis of this litigation,
       4 originated from and/or are controlled by, Defendants’ offices in California In
       5 addition, the Company directly advertised, marketed and sold its energy drinks to
       6 consumers in California as well as the other states in the country. As such,
       7 California’s interest in applying California law in this litigation outweighs any
       8 interests other states or their laws may have.
       9                                         PARTIES
      10             14. Plaintiff Connor Rucks is a citizen of Florida who currently resides in
      11 Miami, Florida. Plaintiff has been purchasing and consuming a variety of the
      12 Monster Energy Drinks for the past nine (9) years, since he was about 17 years old.
      13 Mr. Rucks has consumed the original Monster Energy Drink with the green tab and
      14 the LoCarb version most frequently. At various times, he also has consumed
      15 other varieties. Going back nine years, Mr. Rucks consumes an average of five to
           1
      16 six cans per week, with that number going up significantly during the weeks prior
      IJ to and during exams, as well as on the weekends. Mr. Rucks first tried Monster
               Energy Drinks when he was a junior in high school. He chose Monster Energy
               Drinks over other energy drinks because the marketing was attractive to him as a
               teenage male, Mr. Rucks believed that Monster Energy Drinks were safe for
      21 consumption by persons of all ages. Further, Mr. Rucks saw nothing on the
      22 labeling of the Monster Energy Drink can that would lead him to believe that
      23 drinking the Monster Energy Drink could be bad for his health. Had Mr. Rucks
      24 known these facts, he would not have purchased and consumed Monster Energy
     25 Drinks.
     26       15.          Defendant Monster Beverage Corporation, f/kla Hansen Natural
     27 Corporation, is a Delaware corporation with its principal place of business at 550
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       I Monica Circle, Suite 201, Corona, California 92880. MBC is a publicly traded
       2 company whose stock trades on the NASDAQ under the ticker symbol MNST.
       3 MBC’s business is listed under the Consumer Goods category and identifies its
       4 operations as falling in the beverage and soft drink industry. MBC is a holding
       5 company that carries no operating business, except through its wholly owned
       6 subsidiaries.      MBC through its subsidiaries, develops, markets, sells, and
       7 distributes alternative beverage category beverages in the United States and
       8 internationally.
       9         16. Defendant Monster Energy Company, f/k/a Hansen Beverage
      10 Company, is a Delaware corporation with its principal place of business at      550
      11 Monica Circle, Suite 201, Corona, California 92880. MEC is a wholly owned
      12 subsidiary of MBC. MEC produces and distributes a variety of sodas, fruit juices,
      13 teas, energy drinks and waters. MEC conducts substantially all of MBC’s
      14 operating business and generates substantially all of the Company’s operating
      15 revenues.
      16       17. The Company was engaged in and continues to be engaged in and
      17 responsible for the design, manufacture, production, testing, study, inspection,
      18 mixture, labeling, marketing, advertising, sales, promotion, and/or distribution of
      19 variety of Monster Energy Drinks under the brand "Monster," as described in ¶1,
      20 supra.
      21        18. Plaintiff is currently unaware of the true names, capacities, or basis
      22 for liability of defendants Does 1 through 20, inclusive, and therefore sues said
      23 defendants by their fictitious names Does 1-20 are individuals, associations or
      24 corporations who/that are affiliated or related to the Company, who will be
      25 specifically identified and named as discovery progresses and their roles in the
      26 wrongdoing at issue is revealed At all times mentioned in the Counts alleged
      27 herein, each and every defendant was an agent, representative, affiliate, or
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       I employee of each and every other defendant, and in doing the things alleged in the
       2 Counts stated herein, each and every defendant was acting within the course and
       3 scope of such agency, representation, affiliation, or employment and was acting
       4 with the consent, permission and authorization of the other defendants. During the
       5 relevant time period, defendants agreed to misrepresent to the class members the
       6 material facts at issue herein and/or not to notify class members about the scope
       7 and nature of the illegal business practices as detailed herein, thus engaging in a
       8 conspiracy that resulted in injury in fact to members of the class, which conspiracy
       9 is still on-going. All actions of each defendant, as alleged in the Counts stated
      10 herein, were ratified and approved by the other defendants or their respective
      11 directors, officers and/or managing agents, as appropriate for the particular time
      12 period alleged herein. Plaintiff is informed and believes, and on that basis alleges,
      13 that defendants Does 1 through 20, inclusive, and each of them, are in some
      14 manner liable to Plaintiff, and/or are proper and necessary parties to this action in
      15 light of the relief requested. Plaintiff will amend the Complaint (if necessary) to
      16 allege their true names, capacities or basis for liability when the same have been
      17 ascertained.
      18                               FACTUAL ALLEGATIONS
      19 A      Company Background
      20        19      The Company’s beverage business is divided into Direct Store
      21 Delivery ("DSD"), whose principal products comprise Monster Energy Drinks, and
      22 Warehouse, whose principal products comprise juice based and soda beverages
      23 under many different brand names Defendants have generated just under $2
      24 billion, $1.5 billion and $1.3 billion in gross sales in 2011, 2010 and 2009,
      25 respectively. The Company’s gross sales for the first three quarters of 2012 have
      26 already surpassed $1.8 billion Over 90% of Defendants’ sales figures and gross
      27 profits are attributable to the Company’s Monster Energy Drinks division,
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        I Monster Energy Drinks have recently become the number one top selling energy
       2 drink worldwide, knocking off rival Red Bull,
                 20. Although energy drinks generally make up only a tiny portion of the
           entire beverage market, it is the fastest-growing segment. The growth of energy
           drinks is directly attributable to its popularity among pre-teens and teens. Energy
           drink sales rose by more than 16% in 2011 and Defendants were in the lead with




      16 with taurine, glucuronolactone, L-carnitme, guarana, and B vitamins to form what
      17 15 referred to by the Company as an "energy blend"
      18         23    Energy drinks often contain additional amounts of caffeine through
      19 additives, including guarana, kola nut, yerba mate, and cocoa Guarana (Paullinia
      20 cupana) is a plant that contains caffeine, theobromine (a chronotrope), and
      21 theophylline (an inotrope) Each gram of guarana can contain 40 to 80 mg of
      22 caffeine, and it has a potentially longer half-life because of interactions with other
      23 plant compounds Monster Energy Drinks contain guarana




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       8 I Monster Energy Drinks is made up of teens and people in their early 20s. As
       9 detailed below, the Company’s unique marketing approach designed to be
      10 attractive to adolescents and youth, has caused Monster Energy Drinks to become
      11 No, 1 in energy-drink convenience-store sales, generating $1.3 billion in 2011
      12 revenue and taking market share from Red Bull.
      13       25 The Company eschews mainstream advertising on TV, radio, and
      14 billboards, instead sponsoring huge extreme sporting events - skateboarding,
      15 motorcycle racing, surfing, NASCAR racing, professional bull riding - and music
      16 festivals as well as getting endorsements from music celebrities and popular sports
      17 figures The core of Defendants’ marketing strategy is prize promotions, price
      18 promotions, competitions, endorsements from selected public and extreme sports
      19 figures, personality endorsements (including from television and other well-known
      20 sports personalities), coupons, sampling and sponsorship of selected causes,
      21 events, athletes and teams.




            Drinks to consumers. Similarly, the Company goes into small local towns and



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        1 cities - at sports and music festivals - handing out Monster Energy Drinks to
       2 everyone - age being no bar to the freebie handout
       3         27.   Defendants’ promotions include extreme sports, music and the
       4 Monster Girls, Reproduced below are screen shots of the Monster Girls from the
       5 Company’s website - beautiful, sexy and scantily clad young women What
       6 sexually curious adolescent male (i.e. the Company’s focus group) would not be
       7 drawn to Monster Energy Drinks with this kind of marketing?


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      18         28 The Company’s promotions offering free Monster gear require a
      19 person to "Drink Monster," "Save Tabs," and "Trade for Gear.    See below The
      20 gear includes Monster-branded clothing and apparel, accessories as well as the
      21 Monster Girl 1 8Month Calendar:
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      11             .               . .. .
      12 In this manner, Defendants not only encourage, but aggressively promote the
      13 consumption of Monster Energy Drinks by teenagers and other youth For
      14 example, in order to get a "free" Monster Beanie (with the florescent Monster
      15 logo) or a short-sleeve T-shirt, one has to consume and send in 30 Monster Energy
      16 Drink tabs!! A hoodie demands consumption of 75 Monster Energy Drinks!! So,
      17 in effect, the gear is not actually "free." One has to pay for and consume a
      18 monstrous number of Monster Energy Drinks,

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                                                 75 Monster Energy
                                                      Hooded Zip
                                                      Sweatshirt




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        I "Like" the "Monster Army" on Facebook Monster Army is the Company’s
        2 athlete development program that supports athletes ages 13-21 in moto, bike, skate,
        3 surf, snow and wake Athletes from all over the world are evaluated and invited
        4 into the program to represent the Monster Energy brand                                See
        5 http //www monsterarmy corn/programs!, reproduced below
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                  30     In keeping with a young fan-base, the Company has nurtured a strong
            following on social networks. It counts over 20 million enthusiasts on Facebook
       19
            and has over 408,000 Twitter followers. The Company, thus, specifically targets
      20
            the 13-21 age group in its marketing and advertising knowing full well that the
      21
            fans of the athletes in this age group will most likely also be 13-21 or younger.
      22
                  31. Jeff Cioletti, editor of industry trade publication Beverage World,
      23
            attributes Monster Energy Drinks’ success to the Company "knowing its audience
      24
          and finding a way to connect with them, in what they perceive as an authentic way,
      25
      26 and not talking down to them." On the Company’s marketing strategy, Mark Hall,
            president of the Monster Energy division, remarked: "There has to be some

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                                                       13
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        I connection with the consumer - they have to feel good about what they hold in
        2 their hand and that’s the elusive part of marketing."
        3         32. There’s no question that the Company has done a remarkable job of
        4 connecting with its young audience. According to a 2011 article by the American
        5 Academy of Pediatrics, 30% to 50% of adolescents and young adults consume
        6 energy drinks.
        7         33    Ads in magazines and on billboards with slogans like "unleash the
        8 beast" and "the meanest energy supplement on the planet" ensure that consumers
        9 have brand awareness And one certainly cannot miss Monster Energy Drinks on
       10 the shelves, with the gothmspired logo, lurid colors, and names like Java Monster,
       11 Lo-Carb Monster, Monster Rehab, and others, they tend to stand out And
       12 Defendants’ banners adorn pretty much every big extreme sports event The
       13 "coolness factor" and the caffeine in Monster Energy Drinks are what the
      14 Company is banking on to keep its young consumers coming back for more
      15 D    The Labeling on Monster Energy Drinks Is Designed to Be Attractive
      16          Primarily to Adolescents and Youth
      17          34 The label on a can of Monster Energy Drinks states
      18                Tear into a can of the meanest energy
      19                supplement on the planet, Monster energy.
      20                It’s the ideal combo of the right
      21                ingredients in the right proportion to
      22                deliver the big bad buzz that only
      23                Monster can
      24                Monster packs a vicious punch but has a
      25                smooth flavor you can really pound down
      26               Athletes, musicians, anarchists, students,
      27                road warriors, metal heads, nihilists,
      28
                                                      14
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        1           geeks, hipsters, bikers, and rnilfs dig it
       2             You will too



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        I repeated reference to "buzz," a term generally used to describe the intoxicating
        2 effect one has from drinking alcohol, gives the impression to the consumer that
        3 Monster Energy Drinks can similarly deliver the intoxicating feeling that comes
        4 from drinking alcohol.
        5          36     Consumers may, thus, falsely believe that "more is better" and ingest
        6 multiple servings of the energy drinks Moreover, since there are no restrictions on
        7 the sale of energy drinks, adolescents and children (who may be inexperienced and
        8 less tolerant to the effects of caffeine) may be at an increased risk for caffeine
        9 intoxication Indeed, the Company’s 24 oz can of the original Monster Energy
      10 Drink states "[B]gger is better         because you can never get too much of a good
      11 thing"
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                   37. Some examples of the labeling and advertising for the Company’s
             other Energy Drinks that convey similar messages include:
                                                      16
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          I                LOCARB Slogan: Tear into a can of the meanest energy
                             supplement on the planet, Lo-Carb MONSTER energy. We
                             went down to the lab and performed major surgery on the
                             Monster. We hacked out carbohydrates and calories,
                             transplanted the wicked    Buzz and dialed in the flavor. Lo
                             Carb MONSTER energy still delivers twice the Buzz of a
          7                  regular Energy drink, but only has a fraction of the calories.
          8               Cuba Lima Monster Energy Slogan: As legend has it a
          9                  buzzed up Cuban hears his country has been liberated
      10                     holds up his drink, yells "CUBA-LIBRE" and the famous
      11                     cocktail is born. As big fans of the drink we decided to
      12                     make our own, substituting our tried and true energy blend
      13                    for the alcohol and adding a squeeze         of sweet lime     We
      14                     know it sounds crazy but don’t knock it till you try it.
      15                     You’re gonna love it cause it’s a new kind        buzz. Energy
      16                     Liberated!
      17                  Ubermonster Monster Energy Slogan: Ober: (oo-ber) From
      18                     the German meaning superior, above the norm, or the
      19                     ultimate. No regular bottle could handle this evil energy
      20
                             brewski. So we designed our own with the biggest chugger
      21
                            friendly wide mouth we could make. The big ass cap is a
                             little hard to pry off, but it’s sorta like, if you can’t open it
      23
                             you shouldn’t be able to drink it! Cheers, This energy
      24
                             brew’s for you!
      25
                          M3 Monster Energy Slogan: This little bottle of super
                             concentrated Monster madness packs a 1 6oz. punch into
      2
                             only 5oz. of liquid. Our unique nitrous technology mellows
      2
                                                       17
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        1                   out the flavor. A shot it’s not., but then you don’t have
        2                   to plug your nose to drink it!
                          Super Dry Nitrous Slogan: Don’t let the skinny can fool
                            you, Monster Extra Strength packs our biggest punch! Call
        5                   us crazy, but we supercharged our Monster Energy base then
                            injected it with Nitrous Oxide for a unique texture, smooth
        VA                  drinkable flavor and buzz that’s bigger than ever. This is no
                            "Whip-it" but it will whip you good...
        9                 Green Tea Rehab Slogan:            Our friends at the Rehab pool
       10                   party in Vegas know all about recovering from a long
       11                   .night and together we came up with Monster Rehabfi Green
       12                   Tea + Energy. Naturally loaded with EGCG antioxidants,
       13                   infused with coconut water, quercetin, acai berry and goji
       14                   berry. Monster Rehabfi Green Tea + Energy delivers a triple
       15                   threat that quenches thirst, hydrates like a sports drink, and
       16                   brings you back after a hard day’s night Monster Rehabfi
       17                   Green Tea + Energy: REFRESH, RE-HYDRATE, RE-
       18                   VIVE, or in other words, Rehabilitate with a killer mix of
       19                   green tea, pineapple juice, electrolytes, and our bad-ass
      20                    Monster Rehabfi energy blend to fire you up. Rehab The
      21                    Beast!
                         Tea+Lemonade Rehab Slogan:              While. chillin’ at the Vegas
                            Rehabfi pool party, contemplating a cure for cotton
                            mouth, admiring the flesh parade,            and pondering the
                            wisdom of doubling down when the dealer shows a face
                            card, it HIT ME! We need a new drink. One that can do it
      B                     all - a triple threat that quenches thirst, hydrates like a sports

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        1                    drink, and brings you back after a hard day’s night. Monster
        2                    Rehab: Re-Fresh, Re-hydrate, Re-store, or in other words,
        3                    Re-habilitate with a killer mix of tea, lemonade, electrolytes,
        4                    and our bad-ass Rehabfi energy blend             to fire you up.
        511                  Rehab the Beast!
                    38. In sum, the Company’s labeling conveys the following:
        7                      Monster Energy Drink is some magic formula with "the
        8                       right ingredients in the right proportion,"




      23 milligrams of caffeine, or the equivalent of seven (7) cans of Coke But health
      24 experts have voiced concerns about energy drinks over the past few years, saying
      25
          the caffeine content can be as high as 550 mg
      26
      2/ 1
           Many of the Monster Energy Drinks have the same caffeine content per ounce,
      28 but some are slightly higher due to the same energy blend being used in drinks
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        1          40. Defendants have proven that they have marketing genius and this
        2 genius has been resoundingly rewarded by the market - both its shareholders as
        3 well as by the Company’s target group - adolescents. Notwithstanding the high
        4 caffeine levels in Monster Energy Drinks and scientific evidence of the serious
        5 health risks that they pose, especially for the teenagers and youth that the Company
        6 specifically targets (as detailed supra), Monster Energy Drinks fail miserably in
        7 providing any warnings on its product as to the effects of frequent or excessive
        8 caffeine consumption to the teenagers and youth it targets.
        9        41. The only notation that the Company has on Monster Energy Drink can
       10 is hidden in fine print:
       11               Consume responsibly - Max 1 can per four hours, with limit 3
       12                cans per day. Not recommended for children, people sensitive
       13                to caffeine, pregnant women or women who are nursing.
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      26 with less volume. The caffeine content is less per ounce in countries with stricter
      27 caffeine laws such as Australia and New Zealand which indicates Defendants’
         knowledge and awareness of the impact of excessive caffeine consumption.
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        I lower - no more than 100 mg of caffeine per day from all sources According to
        2 the University of California, teenagers who consume more than 100 mg of caffeine
        3 per day are at an increased risk for high blood pressure. One study in   Pediatrics, a

        4 medical journal, says, "Caffeine can be lethal in doses ranging from 200 to 400
        5 milligrams," and affects various organ systems by increasing heart rate, blood

        6 pressure, speech rate, motor activity, attentiveness and body temperature. Thus,
        7 drinking even one can of a Monster Energy Drink is unhealthy for an adolescent.
        8         44. Remarkably, in a recent press release, the Company contends that
        9 "more than eight billion cans of Monster Energyfi that have been sold and      safely
       10 consumed in the United States and around the world since 2002." That statement

            is simply untrue.
       12         45.    Monster Enerv Drinks have been cited in the deaths of five neoDle in




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       I same neriod     "Consiimntion of enerv drinks is a rising nublic
                                                                    r     health nrohlem
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       2 because medical and behavioral consequences can result from excessive caffeine
       3 intake," the report concluded "A growing body of scientific evidence documents
       4 harmful effects, particularly for children, adolescents and young adults."
       5         47. Recently, the parents in Maryland sued MBC claiming the drinks led
       6 to caffeine toxicity that killed their daughter. Fourteen year-old Anais Fournier,
       7 who had a pre-existing heart condition, went into cardiac arrest after drinking two
       8 24-ounce cans of the Monster Energy Drinks two days in a row in December 2011.
       9 She was pronounced brain dead six days later.
      10       48. Health advocates and experts have been concerned about the use of
      11 energy drinks among adolescents and trying for some time now to draw attention
      12 to the issue of energy drink consumption by kids. In 2011, the Journal of
      13 Pediatrics published a report titled, "Health Effects of Energy Drinks on Children,
      14 Adolescents, and Young Adults" warning that the consequences of energy drink
      15 consumption included "palpitations, seizures, strokes, and even sudden death."
      16 The authors also specifically warned parents that the drinks could be dangerous for
      17 kids with heart problems, diabetes, or ADHD.
      18        49. Earlier this year, the National Council of Sports and Fitness issued a




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        I recommended for physically active people, which can slow the rate at which fluid
        2 is absorbed into the bloodstream or lead to gastrointestinal distress
        3             51.     Amelia M. Arria, Ph.D., an epidemiologist who serves as director of
        4 the Center on Young Adult Health and Development at the University of Maryland
        5 School of Public Health stated "In my opinion, some of the marketing messages
        6 go overboard about the health benefits of these drinks. The term ’energy drink’ is
        7 misleading. Energy should come from calories - this is more about stimulation."
                Studies have shown almost 30% of college students consume energy drinks
        9 regularly, Dr. Arria said. The high concentrations of caffeine they contain can
       10 produce cardiovascular complications, especially in young people or those who are
       III sensitive to caffeine, she said
       12          52. According to a 2011 article by the American Academy of Pediatrics,
       13 of the 5,448 U.S. caffeine overdoses reported in 2007, 46% occurred in those
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       14 younger than 19 years. The researchers of the 2011 study concluded, among other
       15 things that:
       16                     energy drinks have no therapeutic benefit,    and both the known and
       17                     unknown pharmacology of various ingredients, combined with reports
      18                      of toxicity, suggest that these drinks may put some children at risk for
       19                     serious adverse health effects;
      20                    typically, energy drinks contain high levels of caffeine, taurine, and
      21                      guarana, which have stimulant properties and cardiac and hematologic
      22                      activity, but manufacturers claim that energy drinks are nutritional
      23                      supplements, which shields them from the caffeine limits imposed on
      24                      sodas and the safety testing and labeling required of pharmaceuticals,
      25                      and
      26                    youth-aimed marketing and risk taking adolescent developmental
      27                      tendencies combine to increase overdose potential.
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        1         53    According to medical experts at the Department of Psychiatry and
        2 Behavioral Sciences at The Johns Hopkins University School of Medicine, the
        3 consumption of energy drinks may increase the risk for caffeine overdose in
        4 caffeine abstainers as well as habitual consumers of caffeine from coffee, soft
        5 drinks, and tea due to the lack of adequate labeling. Many energy drinks do not
        6 label their product with the amount of caffeine or display warning labels advising
        7 proper use. Consequently, consumers may be completely unaware of the amount
        8 of caffeine they are ingesting.
        9         54.   Additionally, the potential for acute caffeine toxicity due to
       10 consumption of energy drinks may be greater than other dietary sources of caffeine
      11 since many energy drinks are marketed with claims of performance enhancing
      12 effects although the existence and extent of such effects has not been conclusively
      13 established.
      14        55. The Federal Food, Drug and Cosmetics Act provides in section 201(n)
      15 (21 U S C §321(n)) that affirmative representations are not the only factor relevant
      16 to whether labeling is misleading. Rather, in determining whether the labeling of
      17 an article is misleading,
      18                there shall be taken into account (among other things)         the
      19                extent to which the labeling fails to reveal facts material in the
      20                light of such representations or material with respect to
      21                consequences which may result from the use of the article to
      22                which the labeling relates under the conditions of use
      23                prescribed in the labeling thereof or under such conditions of
                        use as are customary or usual




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       13 Washington reports that caffeine is a central nervous system stimulant and can
       14 increase one’s heart rate. According to the University of Alabama at Birmingham,
       15 guarana has three times the caffeine content as caffeine in coffee. According to
       16 Johns Hopkins University, in a survey of 496 college undergraduate students, 19%
      17 of students indicated that they experienced heart palpitations from energy drinks.
         1
      18 The American Heart Association confirms this, noting that people consuming two
      19 energy drinks everyday experienced blood pressure and heart rate increases. The
      20 American Heart Association states that energy drinks can pose an increased risk of
      21 heart problems during exercise, as one’s heart rate naturally increases on its own
      22 during physical activity. High blood pressure, also known as hypertension, puts
      23 one’s body at risk for numerous additional illnesses. Having high blood pressure
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        I were in their 20s, drank two energy drinks a day for seven days straight. The
       2 participants did not consume caffeine for two days prior to the study. Heart rates
           were measured each day within two hours of consuming the energy drinks, while
           the participants were sitting down and not engaged in any strenuous activity. The
           results showed that there was an average heart rate increase of 11% on the seventh
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      13 with alcohol. We don’t necessarily know how much they are drinking at a time or
      14 whether they are drinking before exerting themselves playing basketball or
      15 dancing." This is especially so since the marketing for energy drinks is combined
      16 with extreme sports, he said.
      17        61. Dr. Suzanne Steinbaum, a preventive cardiologist at Lenox Hill
      18 Hospital in New York City. "People may think that these energy drinks are
      19 healthy by the way they’re marketed," she said. There are, however, 240




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            500 college students, indicated that jolts and crashes were experienced by 29% of
            subjects who drank energy drinks. In addition, 22% experienced headaches and
            19% experienced heart palpitations.
                  63. The high sugar and caffeine content in Monster Energy Drinks can
        5 keep one wired for hours and cause sleep deprivation. Medline Plus reports that
        6 caffeine is absorbed by one’s body quickly and distributed through the

           Il bloodstream. From this point, it quickly accesses one’s brain. This can cause the
            caffeine to have an effect for hours after one drinks it. Monster Energy Drinks also
        9 contain additional ingredients such as carnitine, guarana, ginseng and taurine, each
       10 of which is believed to increase one’s energy which may be disruptive to sleep.
       11       64. Another side effect of Monster Energy Drinks is dehydration. Amy
       12 Peak, an assistant professor at Butler University’s College of Pharmacy and Health
       13 Sciences, reports that the combination of caffeine and guarana in energy drinks can
      14 lead to dehydration. According to Brown University, the caffeine in energy drinks
      15 acts as a diuretic and can leave you severely dehydrated. This is particularly
      16 concerning where one uses Monster Energy Drinks as a pre-workout dietary


                  65.    According to a 2009 study by the Mayo Clinic, regulation of energy
            drinks, including content labeling and health warnings are the laxest in the United
            States,2 According to the study, this absence of oversight has resulted in


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          2
      23 FDAThis is underscored by the FDA’s response to certain senators’ requests on the
                 to investigate health risks associated with mixing caffeine and other
      24 stimulants The FDA said it had not found any safety studies that showed the mix
          of ingredients in energy drinks to be dangerous, but conceded that their preliminary
      2 review may be greatly enhanced by engaging specialized expertise outside the
          FDA, focusing particularly on the vulnerability of certain populations to
          stimulants and the incidence and consequence of excessive consumption of
          energy drinks, especially by young people      The FDA assured the senators that it
      21 was contmulng its investigation and that if it did find such risks in its ongoing
          research into the products it would consider taking regulatory action Most
       Q importantly, the FDA accnowledged that resource and capacity constraints

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        I aggressive marketing of energy drinks, targeted primarily toward young men and
        2 openly promoting psychoactive, performance-enhancing, and stimulatory effects,
        3 Alarmingly, energy drink consumption has been shown to be positively associated
        4 with high-risk behavior, including marijuana use, sexual risk taking, fighting,
        5 failure to use seat belts, and taking risks on a dare, as well as with smoking,
        6 drinking, problems stemming from alcohol abuse, and illicit drug use.
        7         66. There appears to be no alcohol in Monster Energy Drinks. However,
        8 some clinical studies have demonstrated a relationship between energy drink
        9 consumption and alcohol abuse. According to a study published in the February
       10 2011 issue of "Alcoholism, Clinical and Experimental Research," energy drink
       11 consumption appears to be a risk factor for alcohol dependence. Specifically,
       12 college students who reportedly drank energy drinks daily or weekly, were more
       13 likely to report consuming alcohol more frequently and in greater amounts, than
       14 students who drank energy drinks less than once a week or not at all.
       15        67. Monster Energy Drinks’ addiction can be a problem for teens,
       16 adolescents and older working adults since caffeine is known to be addictive.
       17 Adolescents and adults may be consuming this beverage and the drug it contains -
       18 caffeine - to fight for increased energy and stamina. Monster Energy Drinks
       19 abound, including lo-cal and lo-carb mixes, all packaged in the conspicuous black
      20 can sporting thell!.
      21




            preclude the government or government-funded toxicity testing of all possible
            combinations.



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          I approximately $162.1 million, or 90. 5%, of the overall increase in gross sales in
            2010. The increase in gross sales and hence gross profits for other relevant years is
            also directly attributable to Monster Energy Drinks.
                  72.    The Company’s public filings recognize the risk that because Monster
            Energy Drinks currently generate the vast majority of revenues (over 94% in
            2011), any criticism of the Monster Energy Drinks, whether by healthcare
          7 professionals of the nutritional benefits the Monster Energy Drink, could result in
          8 decreased demand, which in turn could have an adverse effect on Defendants’
       9 future business and financials.
      10        73. The Company also acknowledges that there are currently pending
      11 proposals to enact legislation to limit or restrict the sale of energy drinks generally
      12 to minors and/or persons below a specified age and/or the venues in which energy
      13 drinks can be sold and/or impose taxation on the sale of energy drinks. Defendants
      14 concede that should these proposals succeed, any such legislation would result in a
      15 reduction in demand for Monster Energy Drinks and adversely affect the
      16 Company’s profit margin. Thus, by its own admission, Monster Energy Drinks
      17 and their continued availability to all - even minors, teens, and youth - are vital to
      18 the Company’s continued success, and even to its very existence.
      1     H. The Company’s Energy Drink Labeling Has Been Under Investigation




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        I product-specific basis, The FDA concedes that it does not have authority to
        2 require a manufacturer to submit each formulated product for pre-market review.
        3        75.   Defendants have relied on this gray area to circumvent applicable
        4 standards by marketing the Monster Energy Drinks akin to a beverage or sports
        5 drink, but not being subject to regulation by classifying them as a "dietary


                 76. In July 2012, the Company was subpoenaed by the New York
        8 attorney general in connection with an investigation into its advertising, marketing,
        9 promotion, ingredients, usage and sale of its Monster Energy Drinks, specifically
       10 whether the Company was misleading consumers about how much caffeine the
       11 drinks contain and the health risks they could pose. The attorney general
       12 investigation focuses, among other things, on whether Defendants (and other
       13 1 companies) violated federal law in promoting the drinks as dietary supplements
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       I               e "[B]gger is better"
       2               9   "2 cans per day" of 24 oz Monster is "responsible" or safe
       3                   consumption by adolescents and adults
       4               e Monster and Monster Mega are safe for consumption except for

                           "children, pregnant women or people sensitive to caffeine."
       6         79. Mr. Herrera observed that MBC seems to have chosen to label its
           Monster Energy Drinks as a "dietary supplement" rather than as a conventional
       8 food or beverage in an attempt to circumvent the safety standards required for food
           and beverage additives. Mr. Herrera’s letter noted that Monster Energy Drinks did
      10 not meet the definition of a "dietary supplement." He remarked:
      11              As the FDA has explained, "the packaging of liquid products in
      12
                       bottles or cans similar to those in which single or multiple
      13
                       servings or beverages like soda, bottled water, fruit juices, and
      14
                       iced tea are sold, suggests that the liquid product is intended for
      15
                       use as a conventional food." Monster is marketed in a single
      16
                       serving can similar in size, shape and appearance to
      17
                       conventional beverages.
      18
                 80. Mr. Herrera also pointed out that the fact that MBC refers to its
      19 products as "Monster Energy drinks," and states that "Monster Energy delivers
         ’twice the buzz of a regular energy drink," belied any notion that "[MBC’s]
      21                            ,,
         products are not beverages. Indeed, the Company ’ s public filings reinforce this -
      22 nowhere in its public filings does the Company refer to Monster Energy Drinks as
      23 a "dietary supplement." In describing its signature Monster Energyfi Drink, the
      24
          Company states: in 2002, we launched a new carbonated energy drink under the
      25 Monster Energyfi brand name in 1 6ounce cans. . . . Our Monster Energyfi drinks
      26 contain vitamins, minerals, nutrients, herbs and supplements (collectively,

      27 ’supplement’) and are marketed through our full service distributor network."
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        1         81. In his letter, Mr. Herrera also noted that
       2                [d]espite exceedingly high caffeine levels, Monster Beverage
       3                Corporation encourages unsafe and irresponsible consumption
       4                of Monster Energy products. Monster’s labeling recommends
       5                that individuals consume no more than three 16 oz. cans or two
       6                24 oz. cans per day, which amounts to a total of 48 oz. of
       7                Monster per day. But 48 oz. of Monster contains 480 mg of
                        caffeine, nearly five times the caffeine that is safe for
       9                adolescents to consume in an entire day, and more than the 400
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                87. Excluded from the definition of the Class are:               Defendants,
        ’ Defendants’ employees, any entity in which Defendants have a controlling interest
      24 or which holds a controlling interest in Defendants, including, but not limited to,
          any warehouses or distributors in which Defendants have a controlling      interesil
          during the Class Period and Defendants’ legal representatives, assigns anj
          successors; all persons who make a timely election to opt out of the propose&

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        I Class, and governmental entities, including the Judge and the judicial staff
        2 assigned to this case.
        3         88. Subject to additional information obtained through further
            investigation and discovery, Plaintiff may expand or narrow the foregoing
        5 definition by amendment or amended complaint, as permitted by the Court.
        6        89. The Company’s practices and omissions apply uniformly to all
        7 members of the Class, so that the questions of law and fact are common to all




       14 1 are common to all members of the Class.
      15          90. All Class members were and are similarly affected by purchasing
      16 Monster Energy Drinks for their intended and foreseeable purpose as promoted,
      17 advertised, packaged, and labeled by Defendants’ and as set forth in detail above.
      NJ          91. The proposed Class is so numerous that joinder of all members woule]
      all, be impracticable. Based on the annual sales of Monster Energy Drinks and theiF


            over questions affecting only individual members, including, inter alia:




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       1                 promotion and sale of Monster Energy Drinks were false,
       2                 misleading or likely to deceive or confuse consumers;
                       (b)Whether Defendants’ practices, representations or omissions in
                          connection with the packaging, labeling, advertising, marketing,
                         promotion and sale of Monster Energy Drinks violated the
                         MMWA, 15 U.S.C. §2301, etseq.;
                       (c) Whether Defendants’ practices, representations or omissions in
                          connection with the packaging, labeling, advertising, marketing,
                         promotion and sale of Monster Energy Drinks was unfair,
      10                  deceptive or unlawful or in any respect, thereby violating
      11                  California’s Unfair Competition Law ("UCL"), Bus. & Prof. Code
      12                  §17200, etseq.;
      13               (d) Whether Defendants’ practices, representations or omissions in
      14                  connection with the packaging, labeling, advertising, marketing,
      15                 promotion and sale of Monster Energy Drinks was unfair,
      16                  deceptive or unlawful or in any respect, thereby violating
      17                  California’s UCL, Bus. & Prof. Code § 17500, etseq.;
      18               (e) Whether Defendants’ practices, representations or omissions in
      19                  connection with the packaging, labeling, advertising, marketing,
      20                  promotion and sale of Monster Energy Drinks violated California’s
      21                  Consumer Legal Remedies Act ("CLRA"), Cal. Civ. Code §1750,
      22                  etseq.;
      23               (0 Whether Defendants failed to disclose, or adequately disclose, the
      24                  amount of caffeine in Monster Energy Drinks or the risks
      25                  associated with caffeine as used in Monster Energy Drinks;
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        I            (g) Whether Defendants failed to disclose, withheld or misrepresented
       2                material information regarding the health effects on Monster
       3                Energy Drinks is an effort to deceive consumers;
       4            (h) Whether Defendants’ Monster Energy Drink labels were false and
       5                misleading because they failed to warn the teenagers and youth the
       6                Company was targeting with its advertising, marketing and
       7               promotions, of the risks of frequent and excessive consumption of
       8                energy drinks;
       9            (i) Whether Defendants acted intentionally in their deceptive and false
      10                advertising, marketing, promotion and sale of Monster Energy
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        1112 of the members
                    93. The claims asserted by Plaintiff in this action are typical of the claims
                             of the Class, as the claims arise from the same course of conduct
        3 by Defendants, and the relief sought is common The misrepresentations and
        4 omissions as to Plaintiff when he purchased Monster Energy Drinks are similar to
        5 the misrepresentations and omissions made to other Class members across the
        6 country. Plaintiff and all Class members have suffered economic injury as a result
          of Defendants’ misrepresentations and omissions, and the Company has realized
        8 massive ill-gotten gains associated with the sale of its Monster Energy Drinks.
        9 Absent this class action, the members of the Class will continue to suffer losses
       10 and the violations of law described herein will continue without a practical remedy,
       11 and Defendants would unjustly retain the proceeds of their ill-gotten gains.
       12 Defendants continue to engage in the unlawful, unfair, and unconscionable conduct
       13 that is the subject of this Complaint.
       14         94, Plaintiff will fairly and adequately represent and protect the interests
       15 of the members of the Class. Plaintiff has retained counsel competent and
      16 experienced in both consumer protection and class action litigation. Plaintiff and
      17 his counsel do not foresee any circumstances where the interests of Plaintiff would
      18 be adverse to the interests of the Class.
      19        95. Certification of this class action is appropriate under Fed. R. Civ, P.
      20 23, because the questions of law or fact common to the respective members of the
      21 Class predominate over questions of law or fact affecting only individual members
      22 This predominance makes a class action superior to other available methods for the
      23 fair and efficient adjudication of this controversy. It would be economically




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        I Plaintiff’s claims will permit Plaintiff and the Class to vindicate their rights against
        2 Defendants and conserve the resources of the Court and the Parties Class
        3 treatment will also avoid the possibility of inconsistent outcomes that could result
        4 from a multitude of individual actions in varying jurisdictions nationwide
        5         96. Certification also is appropriate because Defendants acted or refused
        6 to act on grounds generally applicable to the Class, thereby making appropriate the
        7 relief sought on behalf of the Class as a whole. Further, given the large number of
        8 consumers of Monster Energy Drinks, allowing individual actions to proceed in
        9 lieu of a class action would run the risk of yielding inconsistent and conflicting
       10 adjudications.
       11       97. A class action is a manageable, fair and appropriate method for the
       12 group-wide adjudication of this controversy in that it will permit a large number of
       13 claims to be resolved in a single forum simultaneously, efficiently, and without the
       14 unnecessary hardship that would result from the prosecution of numerous
       15 individual actions and the duplication of discovery, effort, expense and burden on
       16 the Courts that individual actions would engender.
       17       98. Plaintiff knows of no difficulty that will be encountered in the
       18 management of this litigation that would preclude maintenance as a class action.




      25          99.Plaintiff repeats each and every allegation contained in the paragraphs
      26 above and incorporates by reference each preceding paragraph as though fully set
      27 forth at length herein.
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        1          100. This cause of action is brought pursuant to California Business &
        2 Professions Code §17200, et seq., which provides that "unfair competition shall
        3 mean and include any unlawful, unfair or fraudulent business act or practice and
        4 unfair, deceptive, untrue or misleading advertising and any act prohibited by
        5 Chapter I (commencing with Section 17500) of the Business and Professions
        6 Code,"
        7         101. Defendants’ practices, representations and omissions, as set forth
        8 above, were intended to promote the sale of Monster Energy Drinks and constitute
        9 unfair, deceptive and/or unlawful business practices within the meaning of
       10 California Business & Professions Code § 17200, etseq.
       11        102. Defendants committed unfair business acts and/or practices.
       12         103. Nothing in Monster’s packaging, labeling, advertising, marketing,
      13 promotion or sale of Monster Energy Drinks disclosed, or adequately disclosed, the
      14 amount of caffeine in Monster Energy Drinks or the risks associated with caffeine
      15 as used in Monster Energy Drinks, as set forth in detail above.
      16        104. Statements on Defendants’ Monster Energy Drinks labels lack proper
      17 warnings, and are thus considered false, misleading and/or deceptive
      18 representations, practices or omissions. Defendants have consistently failed to
      19 disclose or warn consumers that Monster Energy Drinks may increase blood
      20 pressure and/or heart rate of consumers who ingest Monster Energy Drinks or that
      21 such drinks may cause nervousness, irritability, and/or sleeplessness, and that this
      22 failure to disclose or warn deceives or tends to deceive consumers.
      23          105. Consequently, consumers who purchase Defendants’ Monster Energy
      24 Drinks may experience an increase in blood pressure and/or an increase in their
      25 heart rate without having knowledge of such adverse reactions associated with
      26 drinking Monster Energy Drinks.
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        1          106 Plaintiff relied on the truth and accuracy of the labeling on Monster
        2 Energy Drinks, but based on the label’s failure to disclose, or adequately disclose,
        3 the amount of caffeine in the Energy Drinks or the risks associated with caffeine as
        4 used in Monster Energy Drinks, material facts that would have been substantial
        5 factors in his decision to purchase and consume Monster Energy Drinks for the
            reasons set forth above, Plaintiff was deceived by Defendants into purchasing and
        7 paying for the Monster Energy Drinks as set forth above.
        8        107. The utility of Defendants’ practices, representations and omissions
        9 related to the packaging, labeling, advertising, marketing, promotion and sale of
       10 Monster Energy Drinks without disclosing, or adequately disclosing, that the
       11 amount of caffeine in Monster Energy Drinks or the risks associated with caffeine
       12 as used in Monster Energy Drinks, is negligible, if there is any utility at all, when
      13 weighed against the harm to the general public, Plaintiff and members of the Class.
      14       108. The harmful impact upon members of the general public and the Class
      15 - particularly the teenagers and youth the Company targets in its advertising,
      16 marketing and promotion campaign - who purchased and used Monster Energy
      17 Drinks outweighs any reasons or justifications by Defendants for the unfair
      18 business practices they employed to sell Monster Energy Drinks described herein,
      1911 particularly considering the reasonably available alternatives.
      20           109. Defendants had an improper motive (profit before accurate marketing)
      21 at their intended audience in their practices, representations and omissions related
      22 to the packaging, labeling, advertising, marketing, promotion and sale of Monster
      23 1 Energy Drinks, specifically by implementing promotions and other marketing
            strategies designed to attract adolescents and youth, as set forth above,
      25           110. The use of such unfair business acts and practices was and is under
      26 the sole control of Defendants, and was deceptively hidden from members of the
      27

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        I Class and the general public in their packaging, labeling, advertising, marketing,
        2 promotion and sale of Monster Energy Drinks.
        3             111. Defendants engaged in deceptive acts or practices by failing to
        4 disclose, or adequately disclose, to the consumers targeted by Defendants’
        5 advertising and promotional campaign, the amount of caffeine in Monster Energy
        6 Drinks or the risks associated with caffeine as used in Monster Energy Drinks, as
        7 set forth in detail above.
        8             112. Defendants also engaged in deceptive acts or practices in labeling and
       9 describing Monster Energy Drinks in a manner as to appeal to pre-teens and teens,
       10 and by comparing favorably the "buzz" one gets from drinking Monster Energy
      11 Drinks to that obtained by drinking alcohol.
      12        113. Defendants engaged in deceptive acts or practices by promoting the
      13 stocking of Monster Energy Drinks near sports drinks,
      14        114. These deceptive acts and practices had a capacity, tendency, and/or
      15 likelihood to deceive or confuse reasonable consumers into believing that Monster
      16 Energy Drinks posed no greater risk to the health of those who drank it than did
      17 other sports drinks, particularly given the existence of peer-reviewed scientific
      18 studies indicating the dangers of caffeinated energy beverages
      19         115 Defendants also engaged in unlawful business practices by violating
      20 California’s False Advertising Law ("FAL"), the CLRA, the MMWA as well as
      21 state warranty laws, as set forth in detail below. The violations of these laws serve
            1
      22 as predicate violations of this prong of the UCL.
      Li
                      116. As a purchaser and consumer of Monster Energy Drinks, and as a
      24 member of the general public who purchased and used Monster Energy Drinks,
      25 Plaintiff has standing and is entitled to and does bring this class action seeking all
           1
      26 available remedies under the UCL.



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        1         117. Pursuant to California Business & Professions Code § 17203, Plaintiff
        2 seeks an order of this Court for injunctive relief and disgorging from Defendants
        3 1 and restoring to Plaintiff and members of the Class all monies that may have been
        4   acquired by Defendants as a result of such unfair, deceptive and/or unlawful
        5 business acts or practices.
        6         118, Plaintiff, members of the Class and the general public may be
        7 irreparably harmed and/or denied an effective and complete remedy if such relief is
        8 not granted.
        9        119. As a result of Defendants violations of the UCL, Plaintiff and
       10 members of the Class are entitled to restitution for out-of-pocket expenses and
            economic harm in terms of the price they paid for Monster Energy Drinks.
       12         120 Pursuant to California Civil Code §3287(a), Plaintiff and members of
       13 the Class are further entitled to prejudgment interest as a direct and proximate
       14 result of Defendants’ wrongful conduct. The amount on which interest is to be
       15 applied is a sum certain and capable of calculation, and Plaintiff and members of
      16 the Class are entitled to interest in an amount according to proof.
      17                                          COUNT!!
      18          For Violations of the FAL, Bus, & Prof. Code Section 17500, et seq.
      19          121. Plaintiff repeats each and every allegation contained in the paragraphs
      20 above and incorporates by reference each preceding paragraph as though fully set
      21 forth at length herein
      22         122 In violation of California Business & Professions Code Section




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        5         124. These acts deceptively represented Monster Energy Drinks as posing
        6 no greater risk to the health of those who drank it than did sports drinks,




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        1 is to be applied is a sum certain and capable of calculation, and Plaintiff and
        2 members of the Class are entitled to interest in an amount according to proof.
        3                                          IIJIIIII
        4          For Violations of the CLRA, Cal, Civ, Code Section 1750, et seq.
        5         131. Plaintiff repeats each and every allegation contained in the paragraphs
        6 above and incorporates by reference each preceding paragraph as though fully set
        7 forth at length herein.
        8         132. This cause of action is brought pursuant to the CLRA.
        9         133. Plaintiff and each member of the Class are "consumers" within the
       10 meaning of California Civil Code § 1761(d).
       11       134. The purchases of Monster Energy Drinks by Plaintiff and each
       12 member of the Class were and are "transactions" within the meaning of California
       13 Civil Code § 1761(e).
       14        135. Defendants have violated the CLRA by, among other things, their
       15 representations, practices and omissions in the labeling, advertising, marketing,
       16 promotion and sales of Monster Energy Drinks that Monster Energy Drinks were
       17 safe for consumption when they knew or had access to information that indicated
      18 that Defendants’ representations were false and misleading,
      19        136. Defendants’ labeling, advertising, marketing, promotion and sales of
      20 Monster Energy Drinks as alleged herein, violated Section 1770(a) of the CLRA in
      21 at least the following respects for the reasons set forth in detail above:
      22                 (a) Misrepresenting the source, sponsorship, approval, or certification
      23                   of goods or services (Cal. Civ. Code § 1770(a)(2));
                        (b) Representing that goods or services have sponsorship, approval,
      25                   characteristics, ingredients, uses, benefits, or quantities which they
      26                   do not have (Cal. Civ. Code § I 770(a)(5));
      27



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        I                (c) Representing that goods or services are of a particular standard,
        2                      quality, grade, or that goods are of a particular style or model, if
        3                      they are of another (Cal. Civ. Code §1770(a)(7));
        4                (d)Advertising goods or services with intent not to sell them as
        5                      advertised (Cal. Civ, Code §1770(a)(9));
                         (e) Representing that a transaction confers or involves rights,
        I
                               remedies, or obligations which it does not have or involve, or
        8                      which are prohibited bylaw (Cal. Civ. Code §1770(a)(14)); and
        9               (0 Representing that the subject of a transaction has been supplied in
       10                      accordance with a previous representation when it has not (Cal.
       11                      Civ. Code §l770(a)(l6)).
       12         137. As a result of the use or employment by Defendants of methods, acts
       13 or practices declared unlawful by the above provisions of Cal. Civ. Code §1770,
       14 Plaintiff suffered damage in that he bought the Monster Energy Drinks and thus
       15 paid monies that he would not have expended had the true facts been accurately
       16 disclosed to him and had Monster Energy Drinks not been promoted as they were
       17 in light of the material adverse facts set forth above, or spent more money on
       18 Monster Energy Drinks than he otherwise would have. Plaintiff therefore seeks
       19 and is entitled to, on behalf of both himself and members of the Class, equitable
      20 relief in the form of an order for injunctive relief and requiring Monster to make
      21 full restitution of all monies wrongfully obtained as a result of the conduct
            described above.
      23          138. Pursuant to California Civil Code §1780(d), Plaintiff requests that this
      24 Court enjoin Defendants from continuing to employ the unlawful methods, acts,
      25 and practices alleged herein If Defendants are not restrained from engaging in.
      26 these types of practices in the future, Plaintiff and other members of the Class will
      27 continue to suffer harm.
      28
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        1         139. This cause of action does not, at this point, seek monetary damages
        2 but is confined solely to injunctive relief. Plaintiff will seek to amend this class

        3 action Complaint to seek damages in accordance with the CLRA after providing
        4 Defendants with notice pursuant to California Civil Code § 1782.
        5         140, Regardless of an award of damages, Plaintiff also separately seeks and
        6 is entitled to, pursuant to section 1780(d) of the CLRA, an order for the equitable
        7 relief described above, as well as costs, attorneys’ fees and any other relief which
            the Court deems proper.

                                               [ISJIJ1A
       10                      Breach of Express and Implied Warranty
       11         141. Plaintiff repeats each and every allegation contained in the paragraphs
       12 above and incorporates by reference each preceding paragraph as though fully set
       13 forth at length herein.
       14         142. Plaintiff and the Class purchased Monster Energy Drinks. By virtue
       15 of their purchases and the payment of monies, they formed a contract that included
       16 promises and affirmations made by Defendants through the labeling, packaging
       17 and accompanying advertising and marketing of the Monster Energy Drinks.
      18          143. The labeling and packaging of Monster Energy Drinks constitutes
      19 express warranties that Monster Energy Drinks are the "ideal combo of the right
      20 ingredients in the right proportion," and "bigger is better, . . because you can never
      21 get too much of a good thing." These warranties became part of the bargain
      22 between Plaintiff and the Class on the one hand and Defendants on the other.
      23          144. Plaintiff and the members of the Class relied upon Defendants’
      24 statements and Defendants’ research and investigation regarding the safety of the
      25 Monster Energy Drinks in purchasing and consuming them.
      26          145. Defendants intended to and did in fact, and continue to the present,
      27 target their marketing to teenagers and adolescents by handing out free samples of
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        I0 Monster Energy Dunks outside high schools, sports and music events without
        2 regard to the age of the recipient
        3         146 Monster Energy Dunks were not fit for the purposes for which they
        4 were intended, particularly not to the audience that Defendants was targeting with
        5 their Monster Energy Drinks. The Monster Energy Drinks Plaintiff consumed
        6 were neither safe for their intended use, nor of merchantable quality, in that they
        7 do not contain "the right ingredients in the right proportions" for adolescents and
        8 youth. Defendants, thus, breached their express warranties with Plaintiff and the
        9 Class, and they have been injured as a result.
       10         147. Whether or not expressly made, such warranties that the Monster
       11 Energy Drinks are fit for the purposes intended and are safe is implied by law in all
      12 consumer transactions.
      13       148. Unless excluded or modified, a warranty that the goods shall be
      14 merchantable is implied in a contract for their sale if the seller is a merchant with
      15 respect to goods of that kind. See U.C.C. §2314; Cal. Corn. Code §2314.
      16        149. Monster Energy Drinks are "goods," as defined in the Uniform and
      17 California Commercial Code. U.C.C. §2-105(l).
      18        150. Plaintiff and members of the Class are each a "Consumer" meaning an
      19 individual who buys or contracts to buy goods that, at the time of contracting, are
      20 intended by the individual to be used primarily for personal, family, or household
      21 purposes. U.C.C. §2314.
      22       151. As designers, manufacturers, licensors, producers, marketers, and
      23 sellers of the Monster Energy Drinks, the Company is a "merchant" within the
      24 meaning of the U.C.C. and California Commercial Code. U.C.C. §2404(1); Cal.
      25 Coin. Code §2104(1).
      26        152. By placing the Monster Energy Drinks in the stream of commerce,
      27 Defendants iinpliedly warranted that the Monster Energy Drinks are reasonably

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         I safe, effective and adequately tested for its intended use, i.e., are fit for the
        2 ordinary purposes for which goods of that description are used and are adequately
        3 contained, packaged, and labeled.
        4              153. Defendants marketed and sold Monster Energy Drinks using
        5 misleading marketing materials emphasizing the positive aspects of the Energy
        6 Drinks while neglecting to inform the consumer of the risks associated with its
        7 consumption, including increase heart rate, high blood pressure, arrhythmia,
        8 dehydration, sleep deprivation and diarrhea.
        9       154. As merchants of the Monster Energy Drinks, Defendants knew that
       10 purchasers relied upon them to design, manufacture, license and sell products that
                were reasonably safe and effective. Defendants impliedly warranted to Plaintiff
       12 and members of the Class that Monster Energy Drinks were of merchantable
       13 quality and safe and fit for the use for which they was intended. Plaintiff and the
       14 Class reasonably relied entirely on Defendants’ expertise, knowledge, skill,
       15 judgment, and implied warranty in choosing to purchase and consume Monster
       16 Energy Drinks.
       17       155, Plaintiff and the Class members purchased the Monster Energy Drinks
          1
       18 for its intended purpose i.e. for consumption.
       19 1
      LU    I         156. In breach of Defendants’ implied warranties, the Monster Energy
                Drinks are unsafe, ineffective and not merchantable for ways which include, but
      21 are not limited to the fact, that it can cause serious and even fatal health problems,
                that the caffeine content in the Monster Energy Drinks is dangerously high for
                consumption by adolescents and children, that frequent and excessive consumption
                may result in increasing heart rate, blood pressure, other cardiovascular
                complications, sleep deprivation and diarrhea, among others.
                      157. Monster Energy Drinks are not reasonably safe for their intended use
           1
      27 and the labels do not adequately warn of such dangers or even disclose the caffeine
      Hal
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                CLASS ACTION COMPLAINT
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          i, content, especially for teenager and youth targeted by the Company’s advertising,
          2 marketing and promotion campaign
          3             158 Plaintiff and the Class, who could not have known about the nature of
          4 the risks and side effects associated with Monster Energy Drinks until after they
          5 purchased or used it. Moreover, the risks associated with consuming Monster
          6 Energy Drinks far outweigh any perceived benefits.
          7             159. By selling, delivering and/or distributing the defective Monster
          8 Energy Drinks to Plaintiff and the Class, Defendants breached the implied
       9 warranty of merchantability and the implied warranty of fitness.
      10        160. As a direct and proximate result of Defendants’ breach of implied
      11 warranties, Plaintiff and Class members have sustained injuries by purchasing the
      12 Monster Energy Drinks which were not safe or effective as represented, thus
      13 entitling Plaintiff to judgment and equitable relief against Defendants, as well as
      14 restitution., including all monies paid for the Monster Energy Drinks.
      15                                         COUNTY
      16                   For Violations of the MMWA, 15 U.S.C. Section 2301, et seq.
      17                161. Plaintiff repeats each and every allegation contained in the paragraphs
      18 above and incorporates by reference each preceding paragraph as though fully set
              1
      19 forth at length herein.
      Z                 162. Plaintiff and Class members are "consumers" within the meaning of
      21 the MMWA,
      22       163. The Company is a "supplier" and "warrantor" within the meaning of
      23 the MMWA.
      24       164. Monster Energy Drinks are "consumer products" within the meaning
      25 of the MMWA.
      26        165. Defendants’ written affirmations of fact, promises and/or descriptions,
      27 as alleged herein, are each a "written warranty" and/or there exists an implied
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                  CLASS ACTION COMPLAINT
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        I warranty for the sale of Monster Energy Drinks within the meaning of the
        2 MMWA, i.e., that they are safe for consumption.
        3              166. The Company breached its warranties as Monster Energy Drinks were
       4 not fit for their intended use. Defendants’ conduct thereby caused damages to
       5 Plaintiff and members of the Class.


       I               167. The amount in controversy meets or exceeds the sum or value of $5
                million (exclusive of interest and costs) computed on the basis of all claims to be
                determined in this suit.
       9               168. As a result of the Company’s breach of warranties, Plaintiff and Class
      10 members have sustained damages and other losses in an amount to be determined
            I
      11 at trial, as well as attorneys’ fees, rescission, and/or other relief as is deemed
      12 appropriate.
      13                                           COUNT VI
      14                                       Unjust Enrichment
      15               169. Plaintiff repeats each and every allegation contained in the paragraphs
      16 above and incorporates by reference each preceding paragraph as though fully set
            1
      17 forth at length herein.
      18              170. At all times relevant hereto, Defendants designed, manufactured,
      19 licensed, produced, promoted, marketed and/or sold the ineffective, dangerous and
      20 improperly labeled Monster Energy Drinks.
      21       171, Plaintiff and members of the Class conferred a benefit upon
      22 Defendants by paying for a product with benefits that could not be provided or
      23 delivered and were not safe and effective as advertised. By means of their material
      24 misrepresentations and omissions, as set forth above, Defendants induced Plaintiff
      25 and the Class to purchase Monster Energy Drinks provided no substantial benefit
      26 to consumers, but actually may have caused significant detriment to their health
      27 and mental wellbeing. As a consequence of such misrepresentations and

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        I misconduct, Plaintiff and the members of the Class paid monies to obtain the
        2 Monster Energy Drinks.
        3             172. Defendants voluntarily accepted and retained the benefit of the
        4 monies paid by Plaintiff and the Class with full knowledge of the dangers of the
        5 Monster Energy Drinks and without adequately disclosing those risks.
                      173. Defendants have been enriched, at the expense of Plaintiff and the
        7 Class, by retaining monies for benefits, which they did not provide.
        8         174. Plaintiff and the Class have no adequate remedy at law.
        9             175. It would be unjust and inequitable for Defendants to retain the profits,
            1
       10 benefits, and other compensation obtained from its wrongful conduct as alleged
       11 herein.
       12                                   PRAYER FOR RELIEF
       13             WHEREFORE, Plaintiff, on behalf of himself and all others similarly
       14 situated, prays for judgment against Defendants as follows:
       15        A.     Certifying the Class as requested for all claims asserted herein;
       16             B.    Awarding Plaintiff and the proposed Class members actual, statutory
       17 and punitive damages;
       18       C.     Awarding declaratory and injunctive relief as permitted by law or
      19 equity, including corrective labeling, advertising and marketing;
      20         D.    Ordering that Defendants be required to make full restitution of all
      21 monies wrongfully obtained as a result of the conduct described above and
      22 disgorge all ill-gotten gains flowing from the conduct described above;
      23        E.      Ordering that Defendants be required to pay pre- and post-judgment
      24 interest on all such sums;
      25         F.     Providing such further relief as may be just and proper;
      26              G.    Other legal and equitable relief permitted with respect to the causes of
      27 action stated herein;
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          1         H.    A trial by jury an all issues so triable; arid;
          2        I.     Such other a nd further relief as the Court may deem just and proper.
          3                            DEMAND FOR JURY TRIAL
          4        Plaintiff hereby demands a trial by jury with respect to any claims so triable.
          5
              DATED: December 18, 2012                  THE ME. ... FIRM                ,
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                                                            .’.:%                  .A..iL
          7


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      27

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                          EXHIBIT A
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       U.S. Department of Health and Human Services
       Food and Drug Administration
       Center for Food Safety and Applied Nutrition

       CFSAN Adverse Event Reporting System
       Voluntary and Mandatory Reports on 5-Hour Energy, Monster Energy, and Rockstar
       Energy Drink
       January 1, 2004, through October 23, 2012


       Introduction

       FDA’s Center for Food Safety and Applied Nutrition (CFSAN) Adverse Event Reporting
       System (CAERS) collects reports about adverse health events and product complaints
       related to CFSAN-regulated products, including conventional foods, dietary supplements,
       and cosmetics. Based on a search of CAERS, this document summarizes the adverse
       events reported to FDA in connection with products under the labels 5-Hour Energy,
       Monster, and Rockstar between January 1, 2004 and October 23, 2012. These products
       are currently marketed as dietary supplements.

      CAERS includes voluntary reports for cosmetics and conventional foods, and both
      voluntary and mandatory reports for dietary supplements. Mandatory reports are those
      required by the Dietary Supplement and Nonprescription Drug Consumer Protection Act.
      Specifically, dietary supplement manufacturers, packers, and distributors must notify
      FDA if they receive reports about serious adverse events in connection with the use of
      their products. This law defines a serious adverse event as an adverse health-related event
      that is associated with the use of a dietary supplement and that results in death, a life-
      threatening experience, inpatient hospitalization, a persistent or significant disability or
      incapacity, a congenital anomaly or birth defect, or that requires, based on reasonable
      medical judgment, a medical or surgical intervention to prevent one of those outcomes.
      The requirement to report serious adverse events to FDA applies only to dietary
      supplements and not to beverages, other conventional foods, or cosmetics.

      Medical officers with the agency’s Dietary Supplement Program staff review all serious
      adverse events reported to FDA about dietary supplements as part of the normal process
      of assessment and categorization. In addition to these mandatory reports, the CAERS
      system also contains adverse events (both serious and non-serious) that are voluntarily
      reported to FDA by consumers and health care providers.

      FDA encourages consumers and health care providers to report adverse events they
      believe may be related to FDA-regulated products to FDA’s MedWatch Adverse Event
      Reporting Program (http://www.fda.gov/Safety/eWatchIdefault.htm) . FDA advises
      consumers to talk with their health care providers before using any product marketed as
      an "energy shot" or "energy drink."




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       Thin2s You Should Know About Adverse Event Report Data

       Individual adverse event reports about a particular product and the total number of
       adverse event reports for that product in CAERS only reflect information AS
       REPORTED and do not represent any conclusion by FDA about whether the product
       actually caused the adverse events. Because CAERS is constantly updated with new
       information, the number of reports for a given product and the content of individual
       reports may change over time.

       Even with mandatory reporting of serious adverse events for dietary supplements,
       generally only a small fraction of adverse events associated with any product is reported.
       On the other hand, there may be duplicate reports in CAERS for the same adverse event
       because multiple people (such as an injured consumer and a health care provider who
       treated him or her) may have submitted reports.

       There are important limitations to making inferences based on data from adverse event
       reports, such as those in CAERS.

           Reports to FDA do not necessarily include all relevant data, such as whether an
             individual also suffered from other medical conditions (such as cardiac disease) or
             took other supplements or medication at the same time.

           Reports may not include accurate or complete contact information for FDA to
             seek further information about the event, or complainants may choose not to
             participate in the follow-up investigation.

       When important information is missing from a report, it is difficult for FDA to fully
       evaluate whether the product caused the adverse event or simply coincided with it. The
       fact that an adverse event happened after a person took a dietary supplement does not
       necessarily mean that the dietary supplement caused the adverse event.




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                                        rl,’,’AERS Adverse EjF,-, , nts Reports Allege dly Related to Monster

IThe Center fbr Food Safe Mv          .e.t eportfhg ’ti (CM.R) is Æth-æiarkºt :
 related to CFSAN regulated products. In some reports, information in the reports cannot be verified for accuracy. Furthermore, in many reports, individuals may have used
 other products, and many products contain multiple ingredients which further complicates the evaluation of adverse event reports.

There is no certainty that a reported adverse event can be attributed to a particular product or ingredient. The number of adverse event reports in CAERS received by FDA and
the adverse event report itself about a particular product only reflects information AS REPORTED and does not represent any conclusion by FDA regarding a causal
relationship or association with the product or ingredient. Due to the continuous inclusion of new or updated information into the CAERS system, reports released from
CAERS containing adverse event data may change over time.

Each report received by CAERS regarding an individual that experiences an adverse event is assigned a unique report number (Report #).

*Previous versions of this document may include CAERS reports 150942 and 150496. Since we received two CAERS reports for the same individual, we have merged them
into a single CAERS report (150942).

 A
     Additional dates indicate receipt of additional materials on revort.                    .
Report #        Received Date         Brand/Product       Symptoms                                                             Outcomes
                                          Narne


                                                                                                                                              ......           .
166354         f 2/4/4.......... ..:1MONSTER ENERGY: :..A5MJNAL:pAI:N{JppER     . LIFE THREATENING, HOSPITALIZATION .
                                 ENERGY SUPPLEMENT RETCHING, VOMITING, DIARRHOEA,
                                 DRINK             WEIGHT DECREASED, DIZZINESS,
                                                   HOSPITALISATION



71234           8/11/04          MONSTER ENERGY           MYOCARDIAL INFARCTION,          HOSPITALIZATION, LIFE THREATENING
                                 DRINK                    ELECTROCARDIOGRAM ST
                                                          SEGMENT ELEVATION,
                                                          HOSPITALISATION

75388           1/10/05          MONSTER BEVERAGE FATIGUE                                 VISITED A HEALTH CARE PROVIDER
                                 COMONSTER ENERGY


78111           4/6/05           HANSENS MONSTER PHARYNGITIS, DIZZINESS                   NON-SERIOUS INJURIES! ILLNESS
                                 ENERGY DRINK

 86237          3/22/06          MONSTER ENERGY           TREMOR, DYSPNOEA, VOMITING, HOSPITALIZATION, VISITED AN ER, LIFE THREATENING
                                 DRINK                    CHEST PAIN, TREMOR,
                                                          RHABDOMYOLYSIS, MYOCLONUS


 111857         4/7109           MONSTER ENERGY    DEATH                                  DEATH
                                 DRINK
 112784         4/7/09           MONSTER BLUE LOW NAUSEA, THROAT IRRITATION               NON-SERIOUS INJURIES! ILLNESS                                                         Exhibit A
                                 CARB ENERGY DRINK
                                                                                           Pane 1                                                                                  58
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                                         SIPOLAR 0SOREEK, PSVCNM         HOSPITALIZATION’     .     .   ....                .            .   i
                     DRINK               DISORDER, PERSONALITY
                                         DISORDER, SUICIDAL IDEATION

116885    6/2/09     JAVA MONSTER PLUS   GASTROENTERITIS SALMONELLA,     NON-SERIOUS INJURIES! ILLNESS
                     ENERGY ENERGY       MALAISE, VOMITING, BACK PAIN,
                     DRINK RUSSIAN       HEADACHE, ABDOMINAL PAIN,
                     FLAVOR              COUGH, DIARRHOEA



128536    7/28/10    MONSTER ENERGY      FATIGUE, INFLUENZA LIKE ILLNESS, LIFE THREATENING, HOSPITALIZATION
                     DRINK               MEMORY IMPAIRMENT, MIGRAINE,
                                         ANGINA PECTORIS, PALPITATIONS,
                                         EYE PAIN, MALAISE, DYSURIA,
                                         NEUROPATHY PERIPHERAL, NIGHT
                                         SWEATS, DECREASED APPETITE,
                                         ASTHENIA, PAIN, INSOMNIA,
                                         HEADACHE, FLUSHING, VISUAL
                                         ACUITY REDUCED




130690    1015110    MONSTER ENERGY      DYSPNOEA, POLLAKIURIA, BLOOD    VISITED AN ER, HOSPITALIZATION
                     DRINK               POTASSIUM DECREASED

132041A   11/12/10   MONSTER NITROUS     DEATH                           DEATH

          6/21/12

133771    12/8/10    JAVA MONSTER MEAN   VOMITING, ABDOMINAL PAIN        NON-SERIOUS INJURIES/ ILLNESS
                     BEAN COFFEE
                     FLAVORED ENERGY
                     DRINK

142050    8/1/11     MONSTER ENERGY      LETHARGY, ABDOMINAL PAIN,       NON-SERIOUS INJURIES! ILLNESS
                                         HEART RATE ABNORMAL

143117    8/1/11     MONSTER/LOW CARB    CONJUNCTIVITIS                  VISITED A HEALTH CARE PROVIDER, NON-SERIOUS INJURIES/ ILLNESS
                     ENERGY DRINK

144780    4/14/11     MONSTER HIT MAN    NAUSEA, DIZZINESS, VOMITING,    NON-SERIOUS INJURIES! ILLNESS
                      ENERGY DRINK       HEART RATE ABNORMAL, BLOOD
                                         PRESSURE FLUCTUATION



                                                                                                                                                 Exhibit A
                                                                          Page 2                                                                   59
                        Case 5:12-cv-02231-VAP-SP Document 1 Filed 12/18/12 Page 62 of 67 Page ID #:93


                               Name



1145133     ff0126/It                                                    .   ...J     HER SERIOUS IMP     A   MEDICAL EVENTS)                 ..
                                           DIZZINESS, MUSCULOSKELETAL
                                           STIFFNESS, DYSPNOEA, PAIN N
                                           EXTREMITY


145546      11/10/11    MONSTER ENERGY     HEART RATE ABNORMAL, SKIN                VISITED AN ER
                        DRINK              DISCOLOURATION, BLOOD
                                           PRESSURE INCREASED


146476"     1217/11     MONSTER DRINKS     LOSS OF CONSCIOUSNESS                    DEATH

            3/27/12

            4/4/12
146479       12/6/11    MONSTER ENERGY     HEART RATE IRREGULAR,                    HOSPITALIZATION
                        DRINK              DYSPNOEA, ATRIAL FIBRILLATION




147297       12/30/11   MONSTER            DEATH                                    DEATH
147673       12/5/11    MONSTER ENERGY     ABDOMINAL PAIN                           NON-SERIOUS INJURIES/ ILLNESS
                        DRINK
 150719     4/3112      MONSTER ENERGY     FATIGUE, IRRITABILITY,                   NON-SERIOUS INJURIES/ ILLNESS
                        DRINK              DEPENDENCE

 150941      4/6/12      MONSTER           TREMOR, RESPIRATORY RATE                 VISITED A HEALTH CARE PROVIDER, HOSPITALIZATION
                                           INCREASED

 *150942"    3/27/12     MONSTER ENERGY    CARDIAC ARREST, ARRHYTHMIA,              DEATH
             4/9/12      DRINK             DRUG TOXICITY



 151016      4/9/12      MONSTER ENERGY    DYSPNOEA, CHEST PAIN                     VISITED AN ER, OTHER SERIOUS (IMPORTANT MEDICAL EVENTS)
                         DRINKS
 151782      4/27/12     MONSTER ENERGY    THROAT TIGHTNESS,                        HOSPITALIZATION
                         REHAB PROTEAN +   HYPERSENSITIVITY
                         ENERGY 15.5 OZ
 152471      5/15/12     MONSTER ENERGY    DIARRHOEA, VOMITING,         OTHER SERIOUS (IMPORTANT MEDICAL EVENTS), HOSPITALIZATION
                                           CHROMATURIA, JAUNDICE,
                                           PRURITUS, ANOREXIA, BILIARY
                                           SPHINCTEROTOMY, CHOLESTASIS,
                                           GALLBLADDER DISORDER,
                                           PANCREATIC DISORDER

                                                                                                                                                   Exhibit A
                                                                                     Page 3                                                          60
                    Case 5:12-cv-02231-VAP-SP Document 1 Filed 12/18/12 Page 63 of 67 Page ID #:94




155012                                               WARREST~ CARDIAC’ .        08 PffALIzATI6N-
                     REHAB PROTEAN         ARREST



153279   6/11/12    MONSTER ENERGY 16 DIZZINESS, TREMOR, ANXIETY               HOSPITALIZATION
                    OZ                                                     1
153974   6/29/12     MONSTER ENERGY        OROPHARYNGEAL SWELLING              VISITED AN ER, HOSPITALIZATION
                     IMPORT DUB EDITION
154641   7/20/12     MONSTER ENERGY        CONFUSIONAL STATE, CHEST PAIN, VISITED AN ER, HOSPITALIZATION
                     IMPORT                PAIN, HEADACHE, CHILLS,
                                           DIZZINESS


155221   8/7/12      MONSTER ENERGY 16     DYSPNOEA, FEELING JITTERY,          HOSPITALIZATION
                     OZ                    HYPOAESTHESIA


155267   8/8/12      MONSTER ENERGY        HYPERSENSITIVITY, EMOTIONAL         VISITED AN ER, HOSPITALIZATION
                                           DISTRESS, URTICARIA

155411   8/10/12     MONSTER ENERGY        HYPERSENSITIVITY, MALAISE           CONGENITAL ANOMALY, REQ. INTERVENTION TO PRVNT PERM. IMPRMNT., LIFE
                     DRINK                                                     THREATENING, DISABILITY
155735   8/22112     MONSTER ENERGY        HEART RATE INCREASED,               HOSPITALIZATION
                                           PALPITATIONS, FALL


155835   8/27112     MONSTER ENERGY        ORAL HERPES, HYPERSENSITIVITY, HOSPITALIZATION
                     ANTI GRAVITY 12 FL.   RASH, PRURITUS
                     OZ


156002   8130/12     MONSTER ENERGY        ABDOMINAL PAIN UPPER,               HOSPITALIZATION
                     ABSOLUTELY ZERO       VOMITING, SYNCOPE, DIARRHOEA,
                                           DEHYDRATION

156830   9/20/12     MONSTER ENERGY        CHOKING,                            VISITED AN ER, HOSPITALIZATION
                                           HAEMORRHAGE, FOREIGN BODY
                                           TRAUMA, RETCHING


157791   10/11/12    MONSTER ENERGY        SYNCOPE, MYOCARDIAL                 VISITED A HEALTH CARE PROVIDER
                     REHAB GREEN TEA       INFARCTION, FOOD POISONING,
                     15.50Z                DIZZINESS, FEELING ABNORMAL

40




                                                                                                                                                     Exhibit A
                                                                                Page                                                                   61
   Case 5:12-cv-02231-VAP-SP Document 1 Filed 12/18/12 Page 64 of 67 Page ID #:95

                                   UNITED STATES IMSTR1CT COURT S CENTRAL DISTRICT OF CALIFORNIA
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                               box ityou are rprnncifflruj yourelft:l)                        I)tT13V11RA0R CORPORATION
                                                                                                MONSTER ENFROY COMPANY



  (b) Atlomnys (Firm Nanny, Address anti Telephone Number If you are representing           Attorneys (IlKuown)
      yotwtlf, provide sante.)
       Arft Z. Mehdi
       THE MIilID1 FIRM
       907 Wilshiril Rird,, Suite 40, Beverly Hills, CA 90210 (3 JOY 8$340I0
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0 2 115. Government Defendant            I Diversity (Indicate Citienshlp Citizen of Another State                      e2 02 Incorporated and Principal Place 05 0 5
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IV. ORIGIN (Place on X In one box only.)
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                                                                                                                                      __________________
 VT. CAIISE OF ACTION (Cite the U.S. Civil Statute under which you are fling and writers brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
      38 U.S.C. *1332, Class Action Fairness Act 012005, Magnuson-Moss; Werranly Act (alleged breach of warranties).28 U.S.C. 230Le1acq.
 VU. NATLTNZ 014VIT (Place an X In vue box only,)


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  LV’.? 1(05/08)                                                                 CIVIL COVER SEEK 1’                                                                             Page I of2
   Case 5:12-cv-02231-VAP-SP Document 1 Filed 12/18/12 Page 65 of 67 Page ID #:96

                                                UNITED STATES DISTRICT COURTS CrNTRAL I) ISTRICT OF CALIFORNIA
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 VItl(n). IDENTICAL CASES" Has thin action been previOusly tiled In ibis court and dismissed, renuutdud or closed? lNo n                                       yos
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                                          W13.     Call for dcterrnintnion or tire satire oreubstnntlfflly related orsitnilar questions of law and fact; or
                                          Wc.      For Oliver reasons would entail substantial duplication ol’lntror If heard by different judges; or
                                          0 D. Involve the Canto patent, trademark or copyright, ggj one of the factors Identified above in it, bore also is present.
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 (a) List the. County in this Distri c t; California Cmttrty onrtsitl nl’tisls DIsirl             State if other tholl California; or lrure(gn Country, tit which EACH nstttst plahciif resides.

   Crurtrty itt this District:’                                                                                         Chant7 outside ottitis District; Slate, if other titan California; or Poreign Casurty




 (h) List the County In this District; California County outside of this District; State if other than Uttlifornia; or lhtrelgn Country in                      which EACH tratned defendant resides.

                       tills Ditrirt;’                                                                     Cahfnrniu County outside oftitis District: State, if ottter than California; or Foreign Country




 (c) List the cortnty In this Di s trict; California County outside of this Distriet State il’other than Calilbenirt; or ltoreign country, in which FACII claim arose.


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 XSIONATIJRfI Ol ATTOP.WIY (OPt PItO PDIt):

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      orotlrer papers as required by law, ihisfbrru, approved by M , udicial Conference sri’the. United States in September 1974, is required pursuant to Local Enie 3.1 Is not filed
      bat is used by the Clerk of tire court for the purpose of statistics, venue and initiating tire civil docket slretit, (Fornrtsre detailed instrmtetietrrs, SCO separate itiStttiCtion sitect)
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k ey to ,Ststlmsttcal codes          icr Social Security Cases:
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                         561                          lilA                 All tdnlnrs for lrerrlhlt instttattCC benefits (Medicare) tinner Title: IS, Part A, ot’tile Soeinl Security Act, as atrtertnlcd,
                                                                           Also, inelttdtr claims by hospitals, skilled ttrttnuttg fmteilities, etc., for eertllieamiotr as providers of services strider the
                                                                           program. (42 USC, 1933FV(h))

                         562                          DL                   MI claims for "Black Lung" benefits tinder ’ritla ’I, l’ttrt U, of ilte Federal Coal Mites Ilentith and Safety Act oi1969,
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                         563                          D1WC                 All alaitrut flied by Insured workers for disability tirsitrittice benefits under ’lute 2 of the Social Security Act, as
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                         51)5                        ItS]                  All claittis for retirernetmt (old irge) and survivors benefits ttttder Tithe 2 of tbte Social Security Act, as atnctnrbetl, (42



CV - 71 (05/0%)                                                                                CiVil, COVER SItES?’                                                                                         Page 2 oIl
Case 5:12-cv-02231-VAP-SP Document 1 Filed 12/18/12 Page 66 of 67 Page ID #:97




                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA


            NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY


                       This case has been assigned to District Judge Virginia A. Phillips and the assigned
                 discovery Magistrate Judge is Sheri Pym.

                 The case number on all documents filed with the Court should read as follows:
                                                        DCV12 2231 VAP (SPx)

                  Pursuant to General Order 0507 of the United States District Court for the Central
            District of California, the Magistrate Judge has been designated to hear discovery related
            motions.



            All discovery related motions should be noticed on the calendar of the Magistrate Judge




                                                                    NOTICE TO COUNSEL

         A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
         filed, a copy of this notice must be served on all plaintiffs).
         Subsequent documents must be filed at the following location:


         U     Western Division                         U     Southern Division                        Li   Eastern Division
               312 .N. Spring .St. Rm. 3-8                    411 West Fourth St, Rm. 1453                  3470 Twelfth St., Rm. 134
               Los Angees, CA 90012                           Santa Ma, CA 927014516                        Riverside, CA 92501




         Failure to file at the proper location will result in your documents being returned to you.




         CV-1 8(03/06)             NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 5:12-cv-02231-VAP-SP Document 1 Filed 12/18/12 Page 67 of 67 Page ID #:98


   Name & Address: AZRA Z. MEHDI (220406)
   THE MEHD1 FIRM
   9107 Wilshire Blvd, Suite 450
   Beverly Hills, CA 90210



                                            UNITED STATES DISTRICT COURT
                                           CENTRAL.DISTRICT OF CALIFORNIA
  LUININUK KUUIS,      inciiv                                          I
                                           and on Behalf of All CASE NUMBER
  Others Similarly Situated,


                                   V.
                                                       PLAINTIFF(S)    I             EDCV12 02231 YAP (SPx)

  MONSTER BEVERAGE CORPORATION,
  MONSTER ENERGY COMPANY, and DOES 1-20,
  inclusive,                                                                                         nuO)f;1
                                                    DEFENDANT(S).




  TO: DEFENDANT(S):

           A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it), you
 must serve on the plaintiff an answer to the attached 1’eomplaint 0_                 amended complaint
 O counterclaim 0 cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
 or motion must be served on the plaintiff’s attorney, Azra Z Mehdi         ;                 , whose address is
  9107 Wilshire Blvd , Suite 450, Beverly Hills CA 90210
                           .                                                                 If you fail to do so,
 judgment by default will be entered against you for the relief demanded in the complaint You also must file
 your answer or motion with the court.


                                                                           Clerk, U.S. District Court


      Dated: December 18, 2012                                             By:                DpIr

                                                                                              (’Seal of the Cour)



  [Use 60 days if the defendant is the United States or a United States agency, or Is an of       or employee of the United States, Al/owed
  60 days by Rule 12(a)(’3)J.




  CV-OIA(iO/il                                                   SUMMONS
